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From:            Melissa Keefe
To:              Kayla Wipf
Cc:              Tracy Warren
Subject:         ROAD Request
Date:            Wednesday, October 27, 2021 2:46:55 PM


Hello Kayla,
  I have received a request that your client be assessed by ROAD to a Better Life for MAT. ROAD to
a Better Life only follows their current, established patients here at SCDOC. We would be happy to
help him establish care with ROAD to a Better Life or another MAT program of his choice after
release. Does he have a release date?


Thank you,


Melissa
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